                            Case 24-33149-thp7     Doc 53   Filed 01/21/25




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 8   New York, NY 10016
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     Tel. 503 515 3310
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     Email joe@fieldjerger.com
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     Michael Gottlieb, OSB 031025
15   PO Box 209
     Lake Oswego OR 97034
16   Tel. 503 546 0498
17   Email michael@gottlieb-law.com

18   Attorneys for Sortis Holdings, Inc

19
                                UNITED STATES BANKRUPTCY COURT
20
                                       FOR THE DISTRICT OF OREGON
21

22   In re:                                         Case No. 24-33149-thp7
23
     SORTIS HOLDINGS, INC.,                         ALLEGED DEBTOR’S
24                                                  VERIFIED NARRATIVE STATEMENT
                     Alleged Debtor.                AND VERIFIED CREDITOR LIST
25
                                                      (Relates to ECF 48)
26

     Page 1 of 3                                                             Field Jerger LLC
                                                                             PO Box 13326
     Creditor List
                                                                             Portland, OR 97213
                                                                             Tel: (503) 515 3310
                                                                             joe@fieldjerger.com
                             Case 24-33149-thp7         Doc 53     Filed 01/21/25




 1           Sortis Holdings, Inc. (“SOHI”), the alleged debtor respectfully presents its verified

 2   creditor list (the “Creditor List”). Jake Frey, SOHI’s chief financial officer assembled the

 3   Creditor List attached as Exhibit A, by reviewing the Bankruptcy Code’s definition for “claim” at

 4   11 USC § 105(5), which states:

 5
                      The term “claim” means— (A) right to payment, whether or not
 6                    such right is reduced to judgment, liquidated, unliquidated, fixed,
                      contingent, matured, unmatured, disputed, undisputed, legal,
 7
                      equitable, secured, or unsecured; or (B) right to an equitable remedy
 8                    for breach of performance if such breach gives rise to a right to
                      payment, whether or not such right to an equitable remedy is
 9                    reduced to judgment, fixed, contingent, matured, unmatured,
                      disputed, undisputed, secured, or unsecured.
10

11
              Mr. Frey is a certified public accountant with approximately five years prior experience
12
     in public accounting at Ernst & Young and Price Waterhouse Cooper. To assemble the Creditor
13
     List, Mr. Frey comprehensively reviewed SOHI’s books and records, and the books and records
14
     of SOHI’s fifty (50) subsidiaries. He did so to identify contingent claims and instances where
15
     SOHI may be an actual or purported co-debtor for its subsidiaries. This may have arisen
16
     through an outright guarantee, co-debt, or even errant instances where a subsidiary’s employee
17
     added the subsidiary’s parent SOHI’s name to a vendor’s credit application, without consent
18
     from, or reporting to SOHI.
19
              Mr. Frey spent approximately 30 hours assembling the Creditor List. From his review,
20
     he estimates that SOHI’s settlement with the petitioning creditors will resolve approximately
21
     50% of SOHI’s creditors’ claims, as the term “claim” is defined in the Bankruptcy Code, and
22
     that it will resolve a significantly higher percentage of SOHI’s creditors’ claims, based on
23   pending negotiations and with most of SOHI’s major creditors.
24            The Creditor List contains two sections. The Creditor List’s first section contains the
25   universe of claims against either Sortis, or Sortis jointly with one or more of its subsidiaries, as
26   of January 20, 2025. The Creditor List’s second section contains the universe of claims against

      Page 2 of 3                                                                        Field Jerger LLC
                                                                                         PO Box 13326
      Creditor List
                                                                                         Portland, OR 97213
                                                                                         Tel: (503) 515 3310
                                                                                         joe@fieldjerger.com
                             Case 24-33149-thp7         Doc 53     Filed 01/21/25




 1   either Sortis, or Sortis jointly with one or more of its subsidiaries, as of the November 12, 2024

 2   involuntary petition date, listing creditors’ claims that have been resolved between November 12,

 3   2024 and January 20, 2025.

 4            On behalf of SOHI, Mr. Frey believes that the Creditor List is true and accurate. In the

 5   event that Mr. Frey discovers any corrections or additions to the Creditor List, he has agreed to

 6   promptly inform counsel to request an addendum to the Creditor List.

 7            Dated: January 21, 2025
                                                            /s/ Joseph A. Field
 8                                                          Joseph A. Field, WSB # 24705
                                                            Field Jerger LLC
 9
                                                            PO Box 13326
10                                                          Portland, OR 97213
                                                            Tel. (503) 515 3310
11                                                          Email: joe@fieldjerger.com
                                                            of Attorneys for the Alleged Debtor
12

13

14

15                                             DECLARATION
             I, Jake Frey, am a certified public accountant and the chief financial officer of Sortis
16
     Holdings, Inc. I have personal knowledge of the facts stated herein and am competent to testify
17
     regarding these facts. I make this declaration in lieu of an affidavit to verify that the statements in
18
     the above Narrative Statement, and the accompanying Creditor List affixed at Exhibit A, are true
19
     and accurate to the best of my knowledge. I make this declaration in conformance with
20
     applicable sections of the Bankruptcy Code and Bankruptcy Rules. I declare under the penalty of
21
     perjury that the foregoing is true and correct.
22
             Executed on January 21, 2025 in Portland, Oregon.
23

24                                                          /s/ Jake Frey
25                                                          Jake Frey

26

      Page 3 of 3                                                                        Field Jerger LLC
                                                                                         PO Box 13326
      Creditor List
                                                                                         Portland, OR 97213
                                                                                         Tel: (503) 515 3310
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Case 24-33149-thp7   Doc 53   Filed 01/21/25




Exhibit A
                                        Case 24-33149-thp7             Doc 53           Filed 01/21/25
                                                         Sortis Holdings Creditor List



                               Creditor                                              Address                               City
Aldrich CPAs and Advisors LLP                                    680 Hawthorne Ave SE STE 140                 Salem, OR 97301
Allied Cloud Solutions                                           PO BOX 1585                                  Higley, AZ 85236
Andrew J. Blanksby and Catherine L. Blanksby Revocable Trust     3538 W 2nd Street                            Washougal, WA 98671
Andrew Rice                                                      25030 SW Parkway Avenue                      Wilsonville, OR 97070
Bain Capital Double Impact Fund, L.P.                            200 Clarendon Street                         Boston, MA 02116
BCIP Double Impact Associates, L.P.                              200 Clarendon Street                         Boston, MA 02116
Ben Iadomi                                                       7711 Seward Park Ave S                       Seattle, WA 98118
BlankRome                                                        1271 Avenue of the Americas                  New York, NY 10020
BridgeTech LLC                                                   14925 SW Barrows RD, Ste 109 PMB 147         Beaverton, OR 97007
Bruce Bodine                                                     9020 Lake Steilacoom Point Rd.               Lakewood, WA 98498
Cazimark Group LLC                                               242 SE 2nd Avenue                            Portland, OR 97214
City of Portland (Revenue Division)                              111 SW Columbia Suite 600                    Portland OR 97202
Conner Group Global Services LLC                                 Dept 3748 PO BOX 123748                      Dallas, TX 75312-3748
Darius Boockholdt                                                3033 W Retreat Ln                            Eagle, ID 83616
David Lipton                                                     17689 Cardinal Drive                         Lake Oswego, OR 97034
David Zbarsky                                                    15 Artisan Drive #321                        Salem, NH 03079
Delaware Department of State                                     PO Box 898                                   Dover, DE 19903
Delilah Rose Alani                                               100 Cambridge Street 22nd Floor              Boston, MA 02114
Eat the Seasons LLC                                              31125 E Woodward Rd                          Troutdale, OR 97060
Employment Development Dept - State of CA                        PO BOX 989061                                Sacramento, CA 95798
Employment Security Department of WA                             PO BOX 84242                                 Seattle, WA 98507
Eric Rosenfeld                                                   760 SW 9th Ave. #2250                        Portland, OR 97205
Faegre Drinker Biddle & Reath                                    222 Delaware Ave. STE 1410                   Wilmington, DE 19801
Fast Four                                                        228 East 45th Street. Suite. 9E              New York, NY 10017
Field Jerger LLP                                                 PO BOX 13326                                 Portland, OR 97213
First Citizens Bank                                              15700 Boones Ferry Rd.                       Lake Oswego, OR 97035
Flex Delivery Services                                           PO Box 4461                                  Portland, OR 97208
Floqast Inc.                                                     14721 Califa St.                             Oaks, CA 91411
Frank Giancarli                                                  145 Old Hwy                                  Wilton, CT 06897
Gary & Ethel Furst                                               100 Cambridge Street 22nd Floor              Boston, MA 02114
Gary Furst                                                       100 Cambridge Street 22nd Floor              Boston, MA 02114
Gateway Group, Inc                                               4685 MacArthur Court, Ste 400                Newport Beach, CA 92660
GEC Fellow Barber Fund I, LP                                     100 Cambridge Street 22nd Floor              Boston, MA 02114
George Kassapakis                                                11 SW Main St. #154                          Portland OR 97204
Glen Ross Holdings                                               3970 Clover Ln                               Dallas, TX 75220
Gordon Rees Scully Manuskhani,LLP (GRSM)                         1111 Broadway Suite 1700                     Oakland, CA 94607
Gregory J. Vislocky                                              7700 NE Parkway Dr. #300 Prestige Care Inc   Vancouver, WA 98662
Grosshong Law PLLC                                               600 Stewart Street, Ste. 1300                Seattle, WA 98101
Soni Dave-Schock                                                 7711 Seward Park Ave S                       Seattle, WA 98118
Henri Schock                                                     7711 Seward Park Ave S                       Seattle, WA 98118
ID123 Inc.                                                       397 Moody St. STE 202                        Waltham, MA 02453




                                                                 Page 1 of 3
                                      Case 24-33149-thp7                 Doc 53           Filed 01/21/25
                                                           Sortis Holdings Creditor List



InCorp Services Inc                                                9107 West Russell Road Suite 100        Las Vegas, NV 89148
Internal Revenue Service                                           Department of the Treasury              Ogden, UT 84201-0045
Jacob S. Furst                                                     100 Cambridge Street 22nd Floor         Boston, MA 02114
Jerome Driscoll                                                    3326 NE Pacific Street                  Portland, OR 97232
Kelley Connect                                                     12010 SW Garden Place                   Portland, Oregon 97223
Kevin Sowers                                                       1201 E Sunrise Unit 507                 Fort Lauderdale, FL 33304
KMH (Kishner, Miller, Himes P.C.)                                  40 Fulton St. 12th Floor                New York, NY 10038
Landerholm, P.S.                                                   805 Broadway St., Ste. 100              Vancouver, WA 98660
Leaf                                                               PO Box 5066                             Hartford, CT 06102-5066
Livia Anna Alani                                                   100 Cambridge Street 22nd Floor         Boston, MA 02114
Luis Loboguerrero                                                  100 Cambridge Street 22nd Floor         Boston, MA 02114
Malden Ave Holdings, LLC                                           6415 32nd Ave NW                        Seattle, WA 98107
Marcum LLP                                                         777 South Figueroa St 29th Floor        Los Angeles, CA 90017
Michael B Gottlieb, PC                                             PO Box 209                              Lake Oswego, OR 97034
Michael Moskowitz                                                  3029 Country Lane                       Wilmette, IL 60091
Miramonte Family LLC                                               251 Bartlett Ave. #A                    San Francisco, CA 94110
Moss Adams LLP                                                     PO Box 101822                           Pasadena, CA 91189-1822
Netgain Solutions, Inc.                                            9189 S. Jamaica St. STE 400             Englewood, CO 80112
Noa Claire Alani                                                   100 Cambridge Street 22nd Floor         Boston, MA 02114
Oregon Department of Revenue                                       PO Box 14950                            Salem, OR 97309-0950
PHS Separate Property Trust (Peter Shore)                          2524 NE 40th Avenue                     Portland, OR 97212
ProStructure Consulting                                            818 SW 3rd Ave STE 287                  Portland, OR 97204
RKS Group                                                         14210 SW 150th Ave                       Tigard, OR 97224
Ron Sandler                                                        4022 Harwood C                          Deerfield Beach, FL 33442
Roy Jordan and Yu-Song Yen Family Trust dated 12/10/2018           5348 Calle Vista                        San Diego, CA 92109
Royal Business Systems, Inc.                                       2717 N Hogan                            Spokane, WA 99207
Ryan C Snyder                                                      PO BOX 219                              Cannon Beach, OR 97110
Saltiel Family Trust                                               1535 Sacramento St                      Berkeley, CA 94702
Scott Karsen                                                       100 Cambridge Street 22nd Floor         Boston, MA 02114
Secure Pacific Corporation                                         8220 N Interstate Ave                   Portland, OR 97217
Sortis Capital, LLC                                                242 SE 3rd Ave Suite 200                Portland, OR 97214
Steve Elliott                                                      1098 Cherry Circle                      Lake Oswego, OR 97034
Stoel Rives, LLP                                                   760 SW Ninth Ave Ste 3000               Portland, OR 97205
Strata Trust FBO Robert Bernard IRA                                2543 Audubon Lane SE                    Owens Cross Roads, AL 35763
Sydney Furst                                                       100 Cambridge Street 22nd Floor         Boston, MA 02114
Templeton Office Investments, LLC                                  PO Box 5156                             Portland, OR 97208
Toby Perry & Christina Chen                                        940 Glendome Circle                     Oakland, California 94602
TopBloc LLC                                                        600 W. Chicago Ave STE 275              Chicago, IL 60654
Tre Montingue                                                      3860 Construction Drive                 Dallas, TX 75229
USI Insurance Services NW                                          PO Box 62949                            Virginia Beach, VA 23466
Vadim Rubinchik                                                    33 Woodside Ave                         Westport, CT 06880
Versapay                                                           548 Market Street #43812                San Fransisco, CA 94014




                                                                   Page 2 of 3
                                     Case 24-33149-thp7                   Doc 53         Filed 01/21/25
                                                            Sortis Holdings Creditor List



Washington State Department of Labor and Industries                 PO BOX 24106                              Seattle, WA 98124
West Coast Legal Services LLC                                       1604 NW Riverside St.                     Portland, OR 97209
William & Edward Inc.                                               60995 Stoney Point Rd.                    Vernonia, OR 97064
Workday, Inc.                                                       6110 Stoneridge Mall Road                 Pleasanton, CA 94588




                                         Creditor List Part 2: Claims Resolved Between 11/12/24 and 1/20/25

Creditor                                                            Address                                   City
Bartel Contracting Inc                                              PO Box 160                                Gladstone, OR 97027
Digital Media Innovations dba Notified                              11650 Miracle Hills Dr.                   Omaha, NE 68154
Evolve Interiorscapes                                               1830 NW 19th Ave                          Portland, OR 97209
Form-Craft Business Systems                                         4952 Naples St.                           San Diego, CA 92110
H&H Supply LLC                                                      250 Church St. SE ste 200                 Salem, OR 97301
Health Equity                                                       15 W Scenic Pointe Dr.                    Draper UT 84020
Montana Department of Revenue                                       PO Box 8021                               Helena, MT 59604-8021
Multnomah County Data & Website Billing                             501 SE Hawthrone Blvd, #175               Portland, OR 97214
Oracle America - Financing                                          2300 Oracle Way                           Austin, TX 78741
Oregon Employment Department                                        875 Union St. NE                          Salem OR 97311
Principal Life Insurance Company                                    PO Box 10333                              Des Moines IA 50306-0333
Regence                                                             PO Box 1106                               Lewiston, ID 8350+C+A91:C105




                                                                    Page 3 of 3
                              Case 24-33149-thp7   Doc 53   Filed 01/21/25




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     Email joe@fieldjerger.com
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     Michael Gottlieb, OSB 031025
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16   Tel. 503 546 0498
17   Email michael@gottlieb-law.com

18   Attorneys for Sortis Holdings, Inc

19
                                 UNITED STATES BANKRUPTCY COURT
20
                                       FOR THE DISTRICT OF OREGON
21

22   In re:                                         Case No. 24-33149-thp7
23
     SORTIS HOLDINGS, INC.,                         CERTIFICATE OF SERVICE
24
                     Alleged Debtor.
25

26

     Page 1 of 2                                                             Field Jerger LLC
                                                                             PO Box 13326
     Certificate of Service
                                                                             Portland, OR 97213
                                                                             Tel: (503) 515 3310
                                                                             joe@fieldjerger.com
                               Case 24-33149-thp7      Doc 53     Filed 01/21/25




 1            By signing below, I certify that I served the foregoing Sortis Holdings, Inc. Creditor List

 2   and Narrative Statement, on all parties of record registered for notice with the Court’s CM/ECF

 3   filing system, and I served a copy on counsel for the petitioning creditors via email as set out

 4   below
                 Douglas Pahl
 5               Perkins Coie LLP
                 1120 NW Couch 10th Fl
 6
                 Portland OR 97209
 7               Tel. 503 727 2087
                 Email: dpahl@perkinscoie.com
 8
 9
              Dated: January 21, 2025
10                                                         /s/ Joseph A. Field
                                                           Joseph A. Field, WSB # 24705
11                                                         Field Jerger LLC
                                                           PO Box 13326
12
                                                           Portland, OR 97213
13                                                         Tel. (503) 515 3310
                                                           Email: joe@fieldjerger.com
14                                                         of Attorneys for the Alleged Debtor
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      Page 2 of 2                                                                      Field Jerger LLC
                                                                                       PO Box 13326
      Certificate of Service
                                                                                       Portland, OR 97213
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